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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

BRUCE BLAIN,                                         §
                                                     §
                Plaintiff,                           §
                                                     §
v.                                                   §                   6:16-CV-272-RP-JCM
                                                     §
STATE FARM LLOYDS, et al.,                           §
                                                     §
                Defendants.                          §


                ORDER ADOPTING REPORT AND RECOMMENDATION

        Before the Court is Plaintiff’s Motion to Remand to State Court (Dkt. 10). The case was

referred to United States Magistrate Judge Jeffrey C. Manske for a Report and Recommendation on

the merits pursuant to 28 U.S.C. § 636(b), Rule 72 of the Federal Rules of Civil Procedure, and Rule

1(d) of Appendix C of the Local Rules of the United States District Court for the Western District

of Texas, as amended. Magistrate Judge Manske filed his Report and Recommendation on

September 27, 2016 (Dkt. 13).

        Pursuant to 28 U.S.C. § 636(b) and Rule 72(b) of the Federal Rules of Civil Procedure, a

party may serve and file specific, written objections to the proposed findings and recommendations

of the Magistrate Judge within fourteen days after being served with a copy of the Report and

Recommendation, and thereby secure a de novo review by the district court. A party’s failure to

timely file written objections to the proposed findings, conclusions, and recommendation in a

Report and Recommendation bars that party, except upon grounds of plain error, from attacking on

appeal the unobjected-to proposed factual findings and legal conclusions accepted by the district

court. See Douglass v. United Services Auto Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc).

        Defendants were properly notified of the consequences of a failure to file objections. To

date, Defendants have not filed objections to the findings of fact and conclusions of law in the


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Report and Recommendation. The Court, having reviewed the entire record and finding no plain

error, accepts and adopts the Report and Recommendation of the magistrate judge for substantially

the reasons stated therein.

        Accordingly, the Court ORDERS that the Report and Recommendation of the United

States Magistrate Judge (Dkt. 13) is APPROVED AND ACCEPTED.

        The Court ORDERS that Plaintiff’s Motion to Remand to State Court (Dkt. 10) is

GRANTED and REMANDS this case to the 52nd Judicial District Court of Coryell County,

Texas, for all further proceedings.

        SIGNED on October 21, 2016.




                                           ROBERT PITMAN
                                           UNITED STATES DISTRICT JUDGE




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